                      Case 18-35672 Document 1 Filed in TXSB on 10/09/18 Page 1 of 24

Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/16
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Westmoreland Coal Company


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          9540 South Maroon Circle
                                          Number            Street                                    Number         Street

                                          Suite 300
                                                                                                      P.O. Box
                                          Englewood, Colorado 80112
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Douglas County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 www.westmoreland.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                      Case 18-35672 Document 1 Filed in TXSB on 10/09/18 Page 2 of 24
Debtor            Westmoreland Coal Company                                      Case number (if known)
           Name



                                          A. Check One:
7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:
                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          2121 (Coal Mining)

8. Under which chapter of the             Check One:
   Bankruptcy Code is the
   debtor filing?                         ☐ Chapter 7

                                          ☐ Chapter 9

                                          ☒ Chapter 11. Check all that apply:

                                                            ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                              4/01/19 and every 3 years after that).
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement
                                                              of operations, cash-flow statement, and federal income tax return, or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            ☐ A plan is being filed with this petition.

                                                            ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).
                                                            ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                            ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          ☐ Chapter 12

9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes.    District                           When                      Case number
   within the last 8 years?                                                                  MM/DD/YYYY
     If more than 2 cases, attach a              District                           When                      Case number
     separate list.                                                                          MM/DD/YYYY

10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes.                                                                 Relationship     Affiliate
                                                 Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                     District    Southern District of Texas
     List all cases. If more than 1,                                                                          When             10/09/2018
     attach a separate list.                     Case number, if known _______________________                                 MM / DD / YYYY



     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
                        Case 18-35672 Document 1 Filed in TXSB on 10/09/18 Page 3 of 24
    Debtor           Westmoreland Coal Company                                         Case number (if known)
              Name



    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                          Number          Street



                                                                                          City                                  State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.     Insurance agency

                                                                Contact name
                                                                Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☐     1-49                       ☐     1,000-5,000                        ☐    25,001-50,000
        creditors                         ☐     50-99                      ☐     5,001-10,000                       ☐    50,001-100,000
                                          ☐     100-199                    ☒     10,001-25,000                      ☐    More than 100,000
                                          ☐     200-999



    15. Estimated assets1                 ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☒   $500,000,001-$1 billion
                                          ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                          ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                          ☐     $500,001-$1 million        ☐     $100,000,001-$500 million           ☐   More than $50 billion




1
       The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.

       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                    Case 18-35672 Document 1 Filed in TXSB on 10/09/18 Page 4 of 24
Debtor           Westmoreland Coal Company                                           Case number (if known)
          Name




16. Estimated liabilities            ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                     ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐    More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on            10/09/2018
                                                              MM/ DD / YYYY


                                              /s/ Michael G. Hutchinson                                          Michael G. Hutchinson
                                              Signature of authorized representative of debtor                Printed name

                                              Title    Chief Executive Officer




18. Signature of attorney                     /s/ Patricia B. Tomasco                                        Date        10/09/2018
                                              Signature of attorney for debtor                                           MM/DD/YYYY



                                              Patricia B. Tomasco
                                              Printed name
                                              Jackson Walker L.L.P.
                                              Firm name
                                              1401 McKinney Street, Suite 1900
                                              Number                 Street
                                              Houston                                                                Texas             77010
                                              City                                                                   State               ZIP Code
                                              (713) 752-4200                                                         ptomasco@jw.com
                                              Contact phone                                                              Email address
                                              01797600                                                Texas
                                              Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
                    Case 18-35672 Document 1 Filed in TXSB on 10/09/18 Page 5 of 24
    Official Form 201A (12/15)



                                                 UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF TEXAS
                                                         HOUSTON DIVISION

                                                                             )
     In re:                                                                  )      Chapter 11
                                                                             )
     WESTMORELAND COAL COMPANY,                                              )      Case No. 18-___________(___)
                                                                             )
                                       Debtor.                               )
                                                                             )

    Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

          1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
      number is   001-11155

          2. The following financial data is the latest available information and refers to the debtor’s condition on
      August 31, 2018


              (a)   Total assets                                                    $    770,455,520
              (b)   Total debts (including debts listed in 2.c., below)             $    1,431,617,093
              (c)   Debt securities held by more than 500 holders
                                                                                                                         Approximate
                                                                                                                         number of
                                                                                                                         holders:
              secured     ☐    unsecured     ☐    subordinated       ☐       $
              secured     ☐    unsecured     ☐    subordinated       ☐       $
              secured     ☐    unsecured     ☐    subordinated       ☐       $
              secured     ☐    unsecured     ☐    subordinated       ☐       $
              secured     ☐    unsecured     ☐    subordinated       ☐       $


              (d)   Number of shares of preferred stock                                                                  0
              (e)   Number of shares of common stock                                                                     18,788,5322


              Comments, if any:




              3.    Brief description of debtor’s business:

      We produce and sell thermal coal primarily to investment grade utility customers under long-term, cost-protected
      contracts. Our focus is primarily on mine locations which allow us to employ dragline surface mining methods and take
      advantage of close customer proximity through mine-mouth power plants and strategically located rail transportation.

           4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
      voting securities of debtor: None




2
    As of September 6, 2018.




    Official Form 201A                                        Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                 Case 18-35672 Document 1 Filed in TXSB on 10/09/18 Page 6 of 24




 Fill in this information to identify the case:
                                                                            ,
 United States Bankruptcy Court for the:
                           ,Southern District of Texas
                                        (State)                                                          ☐ Check if this is an
 Case number (if known):                                 Chapter   11                                        amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of Westmoreland Coal Company.

 •    Westmoreland Coal Company                                         •       Westmoreland Energy Services New York, Inc.
 •    Absaloka Coal, LLC                                                •       Westmoreland Energy Services, Inc.
 •    Basin Resources, Inc.                                             •       Westmoreland Energy, LLC
 •    Buckingham Coal Company, LLC                                      •       Westmoreland Kemmerer Fee Coal Holdings, LLC
 •    Dakota Westmoreland Corporation                                   •       Westmoreland Kemmerer, LLC
 •    Daron Coal Company, LLC                                           •       Westmoreland Mining LLC
 •    Harrison Resources, LLC                                           •       Westmoreland North Carolina Power LLC
 •    Haystack Coal Company                                             •       Westmoreland Partners
 •    Oxford Conesville, LLC                                            •       Westmoreland Power, Inc.
 •    Oxford Mining Company - Kentucky, LLC                             •       Westmoreland Resource Partners, LP
 •    Oxford Mining Company, LLC                                        •       Westmoreland Resources GP, LLC
 •    San Juan Coal Company                                             •       Westmoreland Resources Inc.
 •    San Juan Transportation Company                                   •       Westmoreland San Juan Holdings, Inc.
 •    Texas Westmoreland Coal Company                                   •       Westmoreland San Juan, LLC
 •    WCC Land Holding Company, Inc.                                    •       Westmoreland Savage Corporation
 •    WEI-Roanoke Valley, Inc.                                          •       Westmoreland Texas Jewett Coal Company
 •    Western Energy Company                                            •       Westmoreland-Roanoke Valley, LP
 •    Westmoreland Coal Company Asset Corp.                             •       WRI Partners, Inc.
 •    Westmoreland Coal Sales Company, Inc.
             Case 18-35672 Document 1 Filed in TXSB on 10/09/18 Page 7 of 24



                                  UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

                                                         )
    In re:                                               )      Chapter 11
                                                         )
    WESTMORELAND COAL COMPANY,                           )      Case No. 18-___________(___)
                                                         )
                             Debtor.                     )
                                                         )

                                   LIST OF EQUITY SECURITY HOLDERS3

             Debtor                Equity Holders              Address of Equity Holder       Percentage of
                                                                                               Equity Held
    Westmoreland Coal          Cede & Co                     55 Water Street
                                                                                                  98.51%
    Company                                                  New York, NY 10041




3
       This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
       Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity as
       of the date of commencement of the chapter 11 case.
          Case 18-35672 Document 1 Filed in TXSB on 10/09/18 Page 8 of 24



                               UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 WESTMORELAND COAL COMPANY,                           )    Case No. 18-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

     Cede & Co                                                                  98.51%
                 Case 18-35672 Document 1 Filed in TXSB on 10/09/18 Page 9 of 24



    Fill in this information to identify the case and this filing:

   Debtor Name          Westmoreland Coal Company

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



            Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                      List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Michael G. Hutchinson
                                       10/09/2018
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Michael G. Hutchinson
                                                                                 Printed name
                                                                                 Chief Executive Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
                             Case 18-35672 Document 1 Filed in TXSB on 10/09/18 Page 10 of 24



     Fill in this information to identify the case:

     Debtor name         Westmoreland Coal Company, et al.

     United States Bankruptcy Court for the:     Southern District of Texas                                                              